Case 2:O4-cr-20477-.]DB Document 25 Filed 06/23/05 Page 1 of 2 PagelD 25

lN THE UN|TED STATES DlSTRlCT COURT F“-EL} =-`1"" -- -~ 3-0
FOR THE WESTERN DlSTRlCT OF TENNESSEE
WESTERN DW|S|ON 05 JUN 23 PH Z-` 2d

RO§E_T R. Di ._1GL!O
CL,Ei;-ll( U.S. DIC 1` CT.
W.D. OF TN, NlEi\/PH|S

 

)
UN|TED STATES OF AMEFt|CA )
Plaintiff, )
)
VS. ) CR. NO. 04-20477-01-B
)
STEV|E HOPK|NS )
Defendant. )
)
ORDER ON CHANGE OF PLEA

AND SE'IT|NG

 

This cause came on to be heard on June 23 2005, the United States Attorney for
this district, Katrina lEarley, appearing for the Government and the defendant, Stevie

Hopkins, appearing in person and with counsel, Ned Germany, who represented the
defendant

With leave of the Courl, the defendant withdrew the not guilty plea heretofore
entered and entered a plea of guilty to Count 1 of the lndictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENC|NG in this case is SET for WEDNESDAY, SEPTEMBER 28, 2005, at
9:00 A.M., before Judge J. Danie| Breen.

Defendant is remanded to the custody of the U. S. Marsha|.

EN'rEFrEo this the }leay of June, 2005.

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D STATES D|STR|CT COURT
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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CR-20477 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Katrina U. Earley

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Honcrable J. Breen
US DISTRICT COURT

